  Case 1:16-cr-00228-LO Document 103 Filed 04/06/18 Page 1 of 2 PageID# 604



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA                    )
                                            )
           v.                               )    Case No. 1:16CR228
                                            )
RUSLANS BONDARS                             )
                                            )
           Defendant.                       )

                                   MOTION TO SEAL

       COMES NOW the defendant, Ruslans Bondars, by counsel, and respectfully moves this

Honorable Court for an order sealing Defendant’s Exhibit A to DEFENDANT BONDARS’

REPLY TO GOVERNMENT’S CONSOLIDATED RESPONSE TO MOTIONS TO

SUPPRESS, provisionally filed under seal on April 6, 2018. The defendant makes this motion

upon the Government’s request.


                                          Respectfully Submitted,
                                          RUSLANS BONDARS
                                          By Counsel
                                          HARRIS CARMICHAEL & ELLIS, PLLC


                                          _______________________________
                                          Jessica N. Carmichael, Esq. VSB# 78339
                                          Yancey Ellis, Esq. VSB# 70970
                                          Counsel for Defendant,
                                          108 N. Alfred Street, 1st Floor
                                          Alexandria, Virginia 22314
                                          (703) 684-7908
                                          (703) 649-6360 (fax)
                                          jcarmichael@harriscarmichael.com
                                          yellis@harriscarmichael.com
  Case 1:16-cr-00228-LO Document 103 Filed 04/06/18 Page 2 of 2 PageID# 605



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 6, 2018, I have filed the foregoing pleading through the
ECF system, which shall then send an electronic copy of this pleading to all other counsel of
record in this matter.


                                                     __________________________
                                                     Yancey Ellis, Esq., VSB# 70970
                                                     Counsel for Defendant
                                                     108 N. Alfred Street, 1st Floor
                                                     Alexandria, Virginia 22314
                                                     (703) 684-7908
                                                     yellis@harriscarmichael.com




                                                 2
